Case 1:17-bk-12408-MB   Doc 552 Filed 04/20/18 Entered 04/20/18 15:06:57   Desc
                         Main Document     Page 1 of 5
Case 1:17-bk-12408-MB   Doc 552 Filed 04/20/18 Entered 04/20/18 15:06:57   Desc
                         Main Document     Page 2 of 5
Case 1:17-bk-12408-MB   Doc 552 Filed 04/20/18 Entered 04/20/18 15:06:57   Desc
                         Main Document     Page 3 of 5
Case 1:17-bk-12408-MB   Doc 552 Filed 04/20/18 Entered 04/20/18 15:06:57   Desc
                         Main Document     Page 4 of 5
Case 1:17-bk-12408-MB   Doc 552 Filed 04/20/18 Entered 04/20/18 15:06:57   Desc
                         Main Document     Page 5 of 5
